*uleBe - ajoX9eJ eseejg “alsem Jewnsuod-jsod wo} epew s} eBeyoed siyL

| \

Case 3:24-cv-00398-LJC Document 2-1 Filed 01/10/24 Page 1 of 2

NEARATIOVUS
LiTIGANY |

PRESS FIRMLY TO SEAL 43

sy UNITED STATE.
s a POSTAL SERVIC

@ Expected delivery date specified for dor
@ Domestic shipments include $100 of ins:

@ USPS Tracking® service included for domestic and many international destinations.

® Limited international insurance.** i
@ When used internationally, a customs declaration form is required.

*Insurance does not cover certain items. For details regarding claims exclusions see the
Domestic Mail Manual at hitp://pe.usps.com.

** See International Mail Manual at http://pe.usps.com for availability and limitations of coverage.

FLAT RATE ENVELOPE

ONE RATE @ ANY WEIGHT JAN1O on

To schedule free Package Pickup,
scan the QR code.

TRACKED # INSURED

HMMM

~PS00001000014

EP14F July 2022
OD: 12 1/2 x 9 1/2

USPS.COM/PICKUP

PRIORITY MAIL
FLAT RATE ENVELOPE
POSTAGE REQUIRED

fSSy UNITED stares
POSTAL SERVICE e

Click-N-Ship®

usps.com
$9.65

9405 5036 9930 0648 7497 66 0096 5000 0079 4102

US POSTAGE
Flat Rate Env
01/08/2024 Mailed from 72601 986741535749985
PRIORITY MAIL®
DAVID A STEBBINS

. “yw  CLED
AME Nop aK
Re TON, | ins neueor m= DISTRICT

Expected Delivery Date: 01/10/24

0003

APT D
123 W RIDGE AVE
HARRISON AR 72601-4236

C004

R
SAN FRANCISC Ciiaregy aso

USPS TRACKING #

MIO

9405 5036 9930 0648 7497 66

Electronic Rate Approved #038555749 Ree

i _

This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail® and Priority Mail International® shipments.

Misuses may be a violation of federal law. This package is not for resale. EP14F © U.S. Postal Service; July 2022; All rights reserved.
fF Case 3:24-cv-00398-LJC Document 2-1 Filed 01/10/24 Page 2 of 2

UNITEDSTATES | PRIORITY®
Ea POSTAL SERVICE « MAIL

FLAT RATE ENVELOPE

ONE RATE @ ANY WEIGHT

To schedule free Package Pickup,
scan the QR code.

USPS.GOM/PICKUP

TRACKED # INSURED

mv | Neen i aol
PS00001000014 arteries ORDER FREE SUPPLIES ONLINE

For Domestic shipments, the maximum weight is 70 Ibs. For international shipments, the maximum weight is 20 lbs.

